Case 0:21-cv-61719-KMM Document 111 Entered on FLSD Docket 04/16/2024 Page 1 of 5




    Re:CaseDonnahueGeorgeV Ken Griffin etA121-cv-61719
                                                                             FILED Y                     .C.

                                                                                  AFq 6 2021
                                                                                    ANGELA E.NOBLE
                                                                                   cLEFiK U.S.DtST.c'r
                                                                                   s.D.ot
                                                                                        zFI
                                                                                          .A -MIAMi
    D earH onorable Judge M oore,

           Thank you fortaking thetim eto read thisletter.1haveheldAM C sharessince2021.In

    thattim e,Ihaveseen thesharevalueofmy portfolio decrease from am anageable and stable

    position,notbecause ofpracticalm arketm echanics via a fair exchange of securities butone

    w here the deleteriousactionsby a few w ith the pow erto m anipulate the stock m arkethave

    consistently done so by selling these securitiesw ithoutpurchasing them in w hatsom e believe is

    an ofr-marketexchange controlled by M r.K en Griffen and CitadelSecurities.M y simation at

    presentissim ilarto millionsofpeople acrossthe world whotrusted in the CEO ofthecompany,

    Adam Aron,and theboard ofdirectors,believing thathewould notventureinto theareaof

    crim inality.W ith Citigroup,AntaraCapital,andComputershare,Aron,eta1,alongwith

    Citigroup'sDerek Van Zandttook advantageoftheenormousnum berofoversold shareswithin

    AM C andtheblatantsecuritiesfraudpemetratedallegedlybyCitadel,toconjureaschemecalled
    %projectPopcorn.'

           lhadtnzstedMr.Aronuntil2023whenheforcedthrough tprojectPopcorn'bywayof
    the Chancery Courtin D elaw are w hen a11evidence pointed to undeniable com zption and m ind-

    blowing disregard forsecuritieslawsestablished during thegreatdepression.lspentseveral

    m onthsofmy tim edocum enting them isdeedsofAM C'SBoard ofDirectors'involvementin this

    larcenousactofembezzlem ent,racketeering,and clearviolationsoftheRICO Act.lhavem ade

    pleastomyfellow investorstospeakoutagainstthistragicinjusticeanddisregardforeconomic
    Case 0:21-cv-61719-KMM Document 111 Entered on FLSD Docket 04/16/2024 Page 2 of 5




        lawsdesignedto protectretailinvestorsvia importantlegislativem ilestoneslikethe SOX ACT

        and theDodd-FrankActaswell.W ehavetried num erousavenuesto elucidatetheissuesthrough

        videos,x-posts,retailinvestor-led share counts,and requeststhathavesom etimes1ed to

        egregiousopposition from peopleclaiming to beretailshareholderswhen attempting to release

        m ore inform ation to thepublicwho may notknow aboutthisprevalentcrim edestroying fam ilies

        and thefabricofourgreatrepublic.Iimploreyou with theutm ostsincerity thatmy testimony is

        truthfulasIam also willing to tly from my residenceinArizonatoyou should theneed arise.lt

        is thatim portantto m e and other investors as m any feeltheirvoices have been restrained by a

        wallofsocialmediaintluencersandalackoffairobjectivereview ofthehistorical
        documentation concerning thesem atters.




        Again,my gratitudeforyourvaluabletime,




      A M
        John H D aned

        ihartranetttkkjtnaail.com




o
8
I
o
        Case 0:21-cv-61719-KMM Document 111 Entered on FLSD Docket 04/16/2024 Page 3 of 5



         JOHN HARTRANETT
         9901N ORACLE RD APT 6206
         ORO VALLEY AZ 85704




    z1
     - Judge
       15972Moor
             1ABe0.
                  547
    1
    .
      ! usDi
           stri
              ctcourtsouthFlorida
    i R 299EBrowardBlvd
    !> Fortuauderdal
                   e,FL33301-1944
         ..11111.1111'1111.1111'1.11.1111111.1.11.111.111111111.111111.111




E

#
!
I
    *
,
            Case 0:21-cv-61719-KMM Document 111 Entered on FLSD Docket 04/16/2024 Page 4 of 5




                Enclosed letterofentreaty




1
2
i
I
o

'
        .
    ,
Case 0:21-cv-61719-KMM Document
                         *
                                111 Entered on FLSD Docket 04/16/2024 Page 5 of 5
                      <
           =          CJ      O
            > *     .
         =
         4aXo J
              C
              !5o *
                  48
                  0                e    5us
                                         Gl
         t @) (n       .*
          o* .(
              joa.'
                  '- ME t
                  <     .)
                        r          -
                                   =    =
                                        o-m>
          2?O (l. u e              >    z D ..
          û- '1Jrzi. a.
                     q)u.
            it
             zr
              -D        re
                       (r/)        hy uw5
                                   .-   5bœœ
                                        m =O
                              >-
                              &    Y
                                   o- m=
                                      <
                                      Z5Z
                              c    <   o1
                              O
